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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS

 JANIAH MONROE, MARILYN                  )
 MELENDEZ, LYDIA HELÉNA VISION,          )
 SORA KUYKENDALL, and SASHA              )
 REED,                                   )
                                         )
             Plaintiffs,                 )
                                             Civil No. 3:18-cv-00156-NJR-MAB
                                         )
 v.                                      )
                                         )
 JOHN BALDWIN, STEVE MEEKS, and          )
 MELVIN HINTON,                          )
                                         )
             Defendants.                 )

 MOTION AND MEMORANDUM IN SUPPORT OF A PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       Plaintiffs endure daily mental and physical anguish because the Illinois Department of

Corrections (“IDOC”) refuses to provide them basic, competent treatment for their gender

dysphoria.   Gender dysphoria is a recognized condition with established, understood, and

medically-accepted treatment protocols that, when followed, significantly improve the health and

well-being of patients and minimize the distress that accompanies the condition. Despite the

relatively straightforward nature of providing treatment in accordance with accepted guidelines,

IDOC provides treatment, if at all, that falls so woefully outside of prevailing medical standards

that it is nothing short of inhumane. Treatment decisions for each individual with gender dysphoria

throughout the system are controlled by a single “Transgender Committee” of IDOC

administrators and staff, several having no medical training whatsoever and none with expertise

in gender dysphoria, a medical condition requiring specialized care. This centralized committee

(which IDOC has created for no other medical condition), consists of unqualified individuals who

vote to make medical decisions, which results in irrational decision-making untethered from

recognized medical standards. The outcome is unjustified delays or outright denials of necessary

treatment, prolonging and deepening Plaintiffs’ suffering.

       For example, IDOC denies hormone therapy, which is proven to be effective, for reasons

that have no basis in medical science. Among other illegitimate excuses to deny or delay hormone

therapy, IDOC frequently refuses to provide treatment for gender dysphoria until the patients no

longer display certain symptoms of gender dysphoria (such as depression and anxiety)—symptoms

that the withheld treatment is designed to alleviate.

       When IDOC does provide access to hormone therapy, the regimens are riddled with errors

and contrary to accepted medical practice. For example, necessary bloodwork is done irregularly

if at all, so IDOC has no way to determine if the individual’s hormone levels are adequate to treat


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gender dysphoria or put patients at risk for other, sometimes life-threatening conditions that a

hormone imbalance may cause. IDOC also prescribes an outdated form of estrogen that is not

recommended because it is impossible to measure in bloodwork.

       In addition to the barriers to effective hormone therapy, IDOC forecloses altogether the

possibility of surgical treatment for gender dysphoria, which is medically necessary for some

patients. IDOC has adopted a policy that such surgery can be approved only in “extraordinary

circumstances,”—a de facto ban under which the Department has never approved such treatment,

and does not evaluate prisoners as candidates for surgical care.             Whether rooted in

misunderstanding, bias or outright hostility, IDOC’s refusal to even consider surgery should shock

the conscience no less than if IDOC adopted a policy that effectively banned surgical treatment

for cancer, heart disease, or any other serious medical condition.

       IDOC additionally prevents prisoners from living consistently with their gender, which is

a recognized and necessary cornerstone of medical treatment for gender dysphoria often referred

to as “social transition.” With only exceedingly rare exceptions, IDOC forces gender dysphoric

women to live with men in a men’s facility, to wear men’s clothes and underwear, to use men’s

grooming products, and to be strip searched by male guards. IDOC denies access to female

undergarments, including bras to transgender women (who often have developed breasts), and

denies access to effective hair removal and grooming products available to non-transgender

women in custody. Despite the well-recognized harm caused by misgendering gender dysphoric

people, IDOC personnel (and prisoners) consistently refer to women with gender dysphoria as

men, and men with gender dysphoria as women—as well as slurs such as “he-shes” or “shemales.”

The medical and mental health professionals entrusted with providing prisoners treatment for

gender dysphoria routinely misgender their own patients, demonstrating either profound ignorance




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or outright indifference. IDOC has provided no meaningful training to address these known

practices, and does not engage specialists to correct its deficient treatment. At bottom, IDOC

disregards the medical consensus that gender dysphoria is real, serious, and treatable.

       IDOC’s failure to provide necessary treatment has led to profound suffering that serves no

penological purpose, and indeed no purpose at all. It has led Plaintiffs to perform excruciating

acts of self-harm in attempts to conform their bodies to their gender. One Plaintiff, in one of

several autocastration attempts, used a staple to open her scrotum, refusing antibiotic treatment for

the resulting wound in the hope that an infection would force IDOC to remove her genitalia.

Another Plaintiff, desperate to stem the flow of testosterone to her body, tied string around her

testicles. Many of the Plaintiffs have attempted suicide, lending a haunting credulity to their pleas

that they would rather be dead than continue to live in a body of the wrong gender. These acts of

self-harm come as no surprise: they are the natural manifestations of the persistent and often acute

distress that accompanies untreated gender dysphoria.

       As Plaintiffs’ gender dysphoria goes untreated or inadequately treated by IDOC, Plaintiffs

continue to have a heightened risk of self-harm, autocastration, and suicide. Plaintiffs continue to

experience profound distress that could be alleviated with basic medical treatment. Knowing as

much and yet still refusing to provide adequate treatment, IDOC violates the Constitution’s

prohibition on cruel and unusual punishment. For these reasons and as further explained below,

Plaintiffs seek a preliminary injunction halting IDOC’s policies and practices that deny and delay

competent treatment to prisoners with gender dysphoria, and instructing IDOC to provide

medically-necessary treatment that is long overdue.




                                                 3
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                                    STATEMENT OF FACTS

I.     GENDER DYSPHORIA AND STANDARDS OF CARE FOR TREATMENT

       Gender dysphoria refers to a condition in which a person experiences clinically significant

distress stemming from incongruence between one’s experienced or expressed gender and one’s

assigned gender. Declaration of Dr. Randi Ettner (“Ettner Decl.”) ¶ 15. Gender dysphoria appears

in the American Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders,

Fifth Edition (“DSM-V”). Id. ¶ 24. The American Medical Association, the American Psychiatric

Association, the American Psychological Association, the Endocrine Society, and the World

Professional Association for Transgender Health (“WPATH”) all recognize gender dysphoria as a

serious medical condition. Id. ¶ 24.

       The WPATH Standards of Care for the Health of Transsexual, Transgender, and Gender

Nonconforming People (the “Standards of Care”) provide the authoritative treatment protocol for

gender dysphoria. Id. The Standards of Care apply equally to all individuals irrespective of their

housing situation and explicitly state that all treatment standards are equally applicable to patients

in prison (Section XIV). Id. ¶ 26. The National Commission on Correctional Health (“NCCHC”)

recommends treatment in accordance with the Standards of Care for people in correctional settings.

Id. IDOC and its Transgender Committee purport to follow the Standards of Care. Ex. 1, Reister

30(b)(6) Dep. at 36:16–22, 51:6–23, 80:9–81:4; Ex. 2, Puga 30(b)(6) Dep. at 82:2–7, 84:3–16.

       Under the Standards of Care, medically-necessary treatment for gender dysphoria may

include: (1) social transition, i.e., living in a way that is consistent with one’s gender identity; (2)

hormone therapy to alter the face and body in typically feminine or masculine ways; and/or (3)

surgery to change primary and/or secondary sex characteristics. Ettner Decl. ¶¶ 34, 35, 42. The

medical community recognizes all of these treatments to be safe and effective. Id. ¶¶ 38, 41, 46.




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II.    IDOC POLICIES CONCERNING THE CARE OF PRISONERS WITH GENDER
       DYSPHORIA

       IDOC has adopted policies, procedures, and practices that deny prisoners evaluation and

medically necessary treatment for gender dysphoria in contravention of medical science. IDOC

Administrative Directive 04.03.104, “Evaluation of Offenders with Gender Identity Disorders,”

effective as of May 1, 2013 (the “GID Directive”), sets forth IDOC’s policies and procedures for

the evaluation and treatment of prisoners with gender dysphoria. See Defs.’ Answer ¶ 64. These

stated policies have the design and effect of delaying necessary medical evaluation and treatment

and making effective treatment more difficult or even impossible to obtain.

       The GID Directive states that “[t]he Department shall not perform or allow the performance

of any surgery for the specific purpose of gender change, except in extraordinary circumstances as

determined by the Director who has consulted with the Agency Medical Director.” See Ex. 3,

IDOC Administrative Directive 04.03.104. Similarly, by requiring prior approval of the Agency

Medical Director, the GID Directive restricts prisoners’ ability to receive hormone therapy. See

id. The Agency Medical Director admits that he would not consider himself an expert in providing

care to transgender people, or in the administration of hormone therapy. Ex. 4, Meeks Dep.

(Hampton v. Baldwin, No. 3:18-CV-550-NJR-RJD) at 35:23–36:5, 129:16–18; Hampton, 2018

WL 5830730, at *3 (S.D. Ill. Nov. 7, 2018).

       The GID Directive also establishes the “Transgender Committee,” see Defs.’ Answer ¶ 66,

which vests authority for the medical treatment for prisoners with gender dysphoria in the hands

of non-experts and lay people. The Transgender Committee is responsible for evaluating “an

offender who presents with gender identity issues … to make final recommendations” regarding a

prisoner’s “overall health-related treatment plans” and “gender related accommodation[s].”

Ex. 3. It bears responsibility for “placements, security concerns and overall health-related



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treatment plans” for transgender prisoners. Id. Pursuant to the Administrative Directive, the

Transgender Committee is comprised of IDOC’s Medical Director, IDOC’s Chief of Mental

Health, the Transfer Coordinator, and the Chief of Operations. Id. IDOC’s Chief of Psychiatry

was added to the Transgender Committee in July or August 2018 and serves as its chair by

appointment. Ex. 2 at 14:15–15:7.

        The Transgender Committee puts medical care decisions to a majority vote of its five

members. Id. at 18:9–12, 42:8–11, 105:13–106:1. IDOC’s Rule 30(b)(6) designee testified that

for “clinical decisions” the vote somehow may be “more weighted toward the clinical people”—

while acknowledging that even the members without any medical training (the Transfer

Coordinator and Chief of Operations) still play a role in the decision.1 Id. at 125:3–24. IDOC

submits no other medical decisions to a formal committee. Id. at 45:20–22. Prisoners are allotted

six minute slots for a treatment decision to be made, although that time can be extended. Id.

104:15–24. The Medical Director testified that medical records and mental health records are not

provided to the Committee. Ex. 4 at 24:18–25:8.

        Even the members of the Transgender Committee with medical backgrounds do not have

expertise treating patients with gender dysphoria, and none are the prisoners’ treating medical

professional.2 See Ex. 5, Defs.’ Resp. to Interrog. No. 4 (listing names of Transgender Committee



1
    It bears noting that Illinois prohibits the unauthorized or unlicensed practice of medicine. Illinois Medical Practice
    Act (225 ILCS 60/1 et seq.) § 3.5. The Act similarly prohibits “[a]iding and abetting an individual not licensed
    under this Act in the practice of a profession licensed under this act,” with penalties including revocation of
    license and fines of up to $10,000 for each violation. Id. § 22.
2
    The American Psychological Association’s Ethical Principles of Psychologists and Code of Conduct, Section
    2.01 (“Boundaries of Competence”) directs psychologists to “provide services, teach, and conduct research with
    populations and in areas only within the boundaries of their competence ….” The Code of Ethics goes on: “Where
    scientific or professional knowledge in the discipline of psychology establishes that an understanding of factors
    associated with … gender [and] gender identity … is essential for effective implementation of their services or
    research, psychologists have or obtain the training, experience consultation, or supervision necessary to ensure
    the competence of their services, or they make appropriate referrals…”



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members); id. at Defs.’ Resp. to Interrog. No. 5 (listing “with specificity the medical or other

qualifications to treat gender dysphoria” of the Transgender Committee members, and listing no

qualifications at all for some members); Ettner Decl. ¶ 134.

       IDOC understands that gender dysphoria is a specialized area of care. Ex. 1 at 157:14–21.

Yet IDOC has never engaged an outside specialist to advise the committee. Ex. 2 at 101:20–22.

It has never hired an outside expert to help it provide better medical care, or to review the treatment

plan for gender dysphoria. Ex. 1 at 156:20–157:11. Its Rule 30(b)(6) designee, who claimed that

both he and another IDOC colleague have expertise in gender dysphoria, is not a WPATH member,

has never been to a WPATH conference, does not prescribe hormones, seemingly never has treated

a transgender patient for gender dysphoria, and was unable to name even a single expert in the

field. Ex. 2 at 36:13–37:12, 31:4–34:8.

       Despite lacking basic qualifications or experience, the Transgender Committee oversees

all medical treatment for gender dysphoria offered by IDOC. Without meeting or hearing directly

from the prisoner, the Transgender Committee provides “final recommendations” for “hormone

therapy, clothing, showers, searches,” housing, and other accommodations. Ex. 3; Ex. 2 at 89:14–

90:4. The Transgender Committee can, and often does, deny a prisoner hormone therapy and other

necessary medical interventions despite a diagnosis of gender dysphoria, sometimes overruling the

medical judgment of the treating medical professional’s recommendations. Ettner Decl. ¶ 138.

Even if the Transgender Committee ultimately approves the treatment, it does so after causing

significant delay. E.g., id. ¶¶ 82, 99, 109, 117, 128. The Transgender Committee routinely denies

or delays medical care for gender dysphoria for reasons that have no medical basis, as described

in further detail below. Id. ¶ 127.




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III.   IDOC FAILS TO PROPERLY EVALUATE AND PROVIDE NECESSARY
       MEDICAL CARE FOR GENDER DYSPHORIA

       A.       IDOC Denies and Delays Hormone Therapy for Reasons that are Not
                Recognized by the Medical Community.

       The Standards of Care indicate that patients “should receive prompt and attentive

evaluation, with the goal of alleviating their gender dysphoria and providing them with appropriate

medical     services.”      Ex.   6,   WPATH   SOC     at   25.     They   further   specify   that

“[f]eminizing/masculinizing hormone therapy—the administration of exogenous endocrine agents

to induce feminizing or masculinizing changes—is a medically necessary intervention for many

transsexual, transgender, and gender-nonconforming individuals with gender dysphoria.” Ex. 6 at

33; Ettner Decl. ¶ 35. The consequences of withdrawing hormone therapy or not providing

hormone therapy when medically necessary include a high likelihood of negative outcomes such

as surgical self-treatment by auto-castration, depressed mood, dysphoria, and/or suicidality. Ex. 6

at 68; Ettner Decl. ¶ 68.

       Despite the medical necessity of hormone therapy for many transgender prisoners, IDOC

routinely denies and delays hormone therapy for reasons that are not accepted by the medical

community. IDOC requires prior approval of the Agency Medical Director to begin hormone

therapy. See Ex. 3. IDOC’s 30(b)(6) designee admitted that there are no other medications that

require sign off from the agency medical director before they can be prescribed. Ex. 2 at 56:20–

58:17. As a result of this and other artificial hurdles, many transgender prisoners repeatedly

request evaluation for gender dysphoria before they are evaluated, and once evaluated, many

prisoners wait weeks, months, or even years before receiving medically necessary hormone

therapy.

       In some instances, IDOC does not respond to a prisoner’s need for treatment until their

distress manifests in self-harm. Plaintiff Janiah Monroe requested treatment for gender dysphoria


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for approximately three years before she was finally approved for hormone therapy. Declaration

of Janiah Monroe (“Monroe Decl.”) ¶¶ 2, 7. The distress associated with the delay resulted in Ms.

Monroe attempting her own treatment by self-castrating multiple times before she finally was

provided some care. Id. ¶¶ 3–4. Sora Kuykendall waited four months before being evaluated for

gender dysphoria.     Declaration of Sora Kuykendall (“Kuykendall Decl.”) ¶¶ 3–4.              Ms.

Kuykendall’s resulting distress from the delay in treatment manifested in tying her testicles in

order to stop the production of testosterone. Id. ¶ 4. It was only after Ms. Kuykendall’s self-

castration attempt that IDOC finally provided some treatment for her gender dysphoria. Id.

       Plaintiff Lydia Vision identified herself as transgender to IDOC officials in December

2015. Declaration of Lydia Vision (“Vision Decl.”) ¶ 3. Ms. Vision was diagnosed by an IDOC

psychiatrist with gender dysphoria in early 2016, and her case was evaluated by the Transgender

Committee in March 2016. Id. ¶ 3; Ettner Decl. ¶ 105. Despite identifying as transgender and

being diagnosed with gender dysphoria by IDOC mental health professionals, the Transgender

Committee refused to provide Ms. Vision with hormone therapy, citing PTSD as a rationale for

denying treatment. Ettner Decl. ¶ 106. There is no legitimate medical basis for denying treatment

because a patient has been diagnosed with PTSD. Id. ¶ 41. Over the course of the following two-

plus years, Ms. Vision was denied hormone therapy for numerous other reasons that have no

medical foundation and are not contraindications to treatment: that her gender dysphoria “may

not fully manifest itself in the correctional environment”; that she had “potential for further

victimization and isolation as the physical effect of feminizing hormones become apparent”; and

that she had insufficient support in a correctional environment to “undergo the physiologic changes

associated with feminizing hormones.” Id. ¶¶ 106–08. While (absent contraindications) patients

who meet the criteria and request hormone therapy should be prescribed without any delay




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whatsoever, Ms. Vision waited more than two years before finally being treated with hormone

therapy. Ettner Decl. ¶ 109; Declaration of Dr. Vin Tangpricha (“Tangpricha Decl.”) ¶ 21. The

wait caused Ms. Vision to experience severe depression and anxiety, to quit her job in the facility

laundry room, and to feel hopeless about ever receiving appropriate care. Vision Decl. ¶¶ 10–11.

        Unnecessary delay is the rule, not the exception. Plaintiff Marilyn Melendez received a

gender dysphoria diagnosis around March 2015. Declaration of Marilyn Melendez (“Melendez

Decl.”) ¶ 4; Ettner Decl. ¶ 115. Despite this, the Transgender Committee denied Ms. Melendez’s

request and forced her to wait before she could seek reevaluation, claiming she needed counseling

before hormones could be prescribed. Melendez Decl. ¶¶ 4–5; Ettner Decl. ¶ 116. She was not

approved for hormone therapy by the Transgender Committee until July 2015 and her treatment

did not begin until August—a several month wait for no accepted medical reason. Ettner Decl. ¶¶

115–117. Plaintiff Sasha Reed requested hormone therapy from IDOC in November 2015.

Declaration of Sasha Reed (“Reed Decl.”) ¶ 3. Her mental health professional asked Ms. Reed to

fill out a questionnaire and told her that it would be sent to the Transgender Committee for review.

Id. In February 2016, the Transgender Committee denied her hormones. Id. Ms. Reed was told

that she needed to wait while doctors investigated her conceptualization of gender identity—an

amorphous hurdle found nowhere in medical literature, and certainly not a contraindication to

treatment. Ettner Decl. ¶¶ 96–97; Reed Decl. ¶ 3. Ms. Reed waited sixteen months before finally

receiving hormone therapy in 2017. Reed Decl. ¶ 3; Ettner Decl. ¶ 99.

        There are an extremely limited number of reasons3 for not starting a person diagnosed with

gender dysphoria on hormone therapy, but these circumstances rarely arise. Typically, once a


3
    According to the Standards of Care, the criteria for hormone therapy are (1) persistent, well-documented gender
    dysphoria; (2) capacity to make a fully informed decision and to consent for treatment; (3) being age of maturity;
    and (4) if significant medical or mental health concerns are present, they are reasonably well-controlled. Ex. 6 at
    34; Tangpricha Decl. ¶ 19. Medical contraindications to hormone therapy are: “previous venous thrombotic


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patient has been diagnosed with gender dysphoria, treatment should begin without delay.

Tangpricha Decl. ¶ 21; Ettner Decl. ¶ 41. IDOC internal documents acknowledge that the most

common form of feminizing hormone, oral estradiol, is “[e]asy to administer, inexpensive, [and]

improves physical characteristics,” Ex. 7, 124696–700 at 124698. Despite this, IDOC has invented

a whole slew of excuses for delaying and denying treatment that have no basis in medical science.

       B.       IDOC Fails to Provide Adequate Hormone Therapy and Hormone
                Monitoring.

       Even once a prisoner obtains hormone therapy, IDOC routinely provides hormones that are

not medically recommended or appropriate, fails to adequately monitor the prisoner’s hormone

levels, and fails to ensure proper dosages. Tangpricha Decl. ¶ 43.

       IDOC often prescribes outdated hormones that are not recommended by the Endocrine

Society. Id. IDOC purports to follow the standards of the Endocrine Society. Ex. 2 at 93:11–

94:16; 95:20–23. The type of hormones that should be provided to an individual depends on the

gender of the individual seeking treatment as well as the individual’s gender assigned at birth.

Individuals prescribed feminizing endocrine treatments require a dual course of hormone therapy:

estrogen and a testosterone blocker (also known as an antiandrogen) called spironolactone.

Tangpricha Decl. ¶ 24. The recommended hormones and dosages under the Guidelines for

transgender women is an estrogen-derivative known as estradiol (if oral route, 2 to 6 mg/d, or

milligrams per day) and spironolactone (if oral route, 100-300 mg/d). Id. ¶ 25. Recommended

hormone therapy for transgender men typically involves provision of testosterone, either

parenterally (through injection) or transdermally (through the skin). Id. ¶ 27.




   events related to an underlying hypercoagulable condition, history of estrogen-sensitive neoplasm, and end-stage
   chronic liver disease.” Ex. 6 at 44; Tangpricha Decl. ¶ 21.



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       Instead of these accepted treatments, IDOC has prescribed some transgender prisoners,

including Ms. Melendez, Ms. Kuykendall, and additional Plaintiff Class members, a conjugated

estrogen. Id. ¶¶ 54, 56, 68. This type of estrogen is not recommended by the Endocrine Society

because it is impossible to meaningfully measure estrogen levels in blood and therefore regulate

appropriate doses. Id. ¶ 40. Unmonitored doses can lead to imbalanced hormone levels and cause

a prisoner’s gender dysphoria to go untreated. Id. In addition to concerns about their efficacy,

conjugated estrogens pose a higher risk of thromboembolism (blood clots) in patients, which can

lead to heart failure and death. Id. IDOC’s internal documents reflect that conjugated estrogen

has these “drawbacks,” including “[l]imited clinical data, higher thromboembolic risk, [and] lack

of monitoring.” Ex. 7 at 124698. IDOC nonetheless in many cases opts for the conjugated

estrogens that cost between 19 to 27 times as much as oral estradiol that is safer and more effective.

Tangpricha Decl. ¶ 40.

       Even for prisoners prescribed an appropriate form of hormone therapy, IDOC fails to

adequately monitor hormone levels and other health markers, and relatedly fails to provide the

correct hormone dosages. The Standards of Care direct that “clinicians who prescribe hormone

therapy . . . [p]rovide ongoing medical monitoring, including regular physical and laboratory

examination to monitor hormone effectiveness and side effects.” Ex. 6 at 42; Tangpricha Decl. ¶

30. The Endocrine Society recommends patient evaluations every 2–3 months in the first year of

hormone or endocrine treatment and then 1–2 times per year thereafter. Tangpricha Decl. ¶ 30.

       Part of this monitoring regimen is to ensure that a patient’s gender dysphoria is adequately

treated—providing inadequate hormone dosages will very likely fail to treat the condition.

Id. ¶ 33. In addition, failing to monitor hormone levels could result in dangerous levels of estrogen

in transgender women leading to an increased risk for blood clots or strokes if the estrogen level




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is too high, increased risk for cardiac arrhythmia/hyperkalemia due to high potassium levels, and

potential blindness caused by unchecked growth of the pituitary gland, among other potential

complications. Id. ¶¶ 31–40. Likewise, failing to monitor hormone levels in transgender men

could result in dangerous levels of testosterone. Id. ¶ 42.

        Despite the inefficacy of an inadequate hormone regimen and well-documented serious

side effects that accompany a hormone imbalance, IDOC rarely performs bloodwork to measure

hormone levels and other health markers for prisoners taking hormone therapy. For example, Ms.

Monroe’s hormone levels have not been regularly monitored since she was first prescribed

hormone therapy in 2012. Id. ¶ 46. When she was finally tested—roughly 3 years after she began

her hormone therapy—her bloodwork revealed estrogen levels below the recommended range for

transgender women. Id. ¶ 47. Such levels are insufficient to address the dysphoria caused by the

testosterone her body produced and also inadequate to protect her from bone loss. Id. This

inadequate hormone dosage has caused Ms. Monroe’s gender dysphoria symptoms to worsen. Id.

¶ 50.   Despite this, Ms. Monroe’s hormone dosages have not been increased to provide

therapeutically appropriate treatment. Id. ¶ 49. Similarly, Ms. Reed has been on hormones since

April 2017. Id. ¶ 57. However, to this day, Ms. Reed’s testosterone levels are far above the

recommended therapeutic level for a transgender woman. Id. ¶ 59.

        Ms. Kuykendall has repeatedly requested blood testing because she is afraid her hormone

levels may not be stable. Kuykendall Decl. ¶ 6. But even after these repeated requests, the medical

records indicate she has only had her blood levels checked once since she started hormones.

Tangpricha Decl. ¶ 56. Despite being on hormones in IDOC custody for more than two years, Ms.

Melendez has only once had her blood drawn to test her hormone levels. Id. ¶ 54. Because Ms.




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Kuykendall and Ms. Melendez are on conjugated estrogens, however, even if bloodwork testing

were done it would not reliably measure estrogen levels. Id. ¶ 40.

       C.      IDOC Fails to Consider and Provide Surgery as Part of Medically Necessary
               Treatment for Gender Dysphoria.

       IDOC refuses to consider or provide surgery to prisoners suffering from gender dysphoria

despite medical consensus that in some cases, surgery is an effective and necessary treatment.

IDOC’s policy, in aim and effect, imposes a blanket ban on surgical treatment for gender

dysphoria. Under the Standards of Care, gender affirming surgery can be an “essential” and

“medically necessary” treatment for gender dysphoria, Ettner Decl. ¶ 55:

               While many transsexual, transgender, and gender-nonconforming
               individuals find comfort with their gender identity, role, and
               expression without surgery, for many others surgery is essential and
               medically necessary to alleviate their gender dysphoria. For the
               latter group, relief from gender dysphoria cannot be achieved
               without modification of their primary and/or secondary sex
               characteristics to establish greater congruence with their gender
               identity.

Ex. 6 at 54–55; Ettner Decl. ¶ 42.

       Several of the Plaintiffs and Plaintiff Class members meet the criteria to be candidates for

gender affirming surgery, having been on hormones and lived in their congruent gender role for at

least a year. E.g., Ettner Decl. ¶¶ 84, 94, 103, 113, 123, 132. And incarceration is not a basis to

deny surgical care. While “[r]easonable accommodations to the institutional environment can be

made in the delivery of care consistent with the [Standards of Care],” “[d]enial of needed changes

in gender role or access to treatments, including sex reassignment surgery, on the basis of residence

in an institution are not reasonable accommodations ….” Ex. 6 at 68; Ettner Decl. ¶ 27.

       Ms. Monroe has requested gender affirming surgery on multiple occasions and has been

continually denied. Monroe Decl. ¶ 9. Similarly, despite repeated requests from Ms. Melendez,

IDOC has taken no meaningful steps to evaluate her medical needs for surgery. Melendez Decl.


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¶ 8; Kuykendall Decl. ¶ 9. Since 2015, Ms. Kuykendall has repeatedly requested surgery through

the formal grievance procedure and with her mental health clinicians at IDOC. Kuykendall Decl.

¶ 9. One IDOC mental health professional who treated her acknowledged that she would

“advocate” for Kuykendall to receive surgery. Id. Despite this recommendation from her treating

clinician, IDOC has taken no steps to evaluate her as a candidate for surgery. Id. Ms. Reed has

filed multiple grievances requesting gender affirming surgery, but has still never been evaluated

for surgery. Reed Decl. ¶ 12. The denial of gender affirming surgery has caused some transgender

prisoners to resort to self-castration attempts. E.g., Monroe Decl. ¶ 4; Kuykendall Decl. ¶ 4.

       Rather than evaluate whether surgery may be necessary, IDOC has a practice and a policy

that it makes it a practical impossibility for prisoners to receive surgical treatment. IDOC’s GID

Directive rules out surgical care “except in extraordinary circumstances as determined by the

Director who has consulted with the Agency Medical Director.” Ex. 3; Defs.’ Answer ¶ 101.

Thus, IDOC has a de facto ban on the treatment that can only be overridden by IDOC’s Director,

who admittedly is not an expert in treating gender dysphoria and can refuse a medically-necessary

surgery, despite that prisoner meeting the criteria listed in the Standards of Care.

       IDOC’s 30(b)(6) designee was unaware of any other forms of surgery that require this level

of approval, and could not explain why this hurdle is imposed. Ex. 2 at 55:8–56:15. IDOC has

told Plaintiffs who requested surgery that “there is no policy in place” at IDOC to provide surgery.

Monroe Decl. ¶ 8. And indeed, no IDOC prisoner is or ever has been approved for gender

affirming surgery or has even been evaluated to determine whether they need gender affirming

surgery to treat their gender dysphoria. Defs.’ Answer ¶ 100; Ex. 2 at 99:9–14. IDOC has never

brought in a specialist to evaluate any gender dysphoric prisoners for surgical care. Ex. 2 at

101:20–102:3. IDOC’s policies and practices amount to an effective ban on surgical care as a




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component of treatment—a prohibition that is just as outrageous as if surgical care were banned

for treatment of any other medical condition.

          D.       IDOC Prevents and Fails to Permit, Accommodate, and Facilitate Social
                   Transition Necessary to Treat Gender Dysphoria.

          IDOC denies prisoners the social transition—“living part time or full time in another

gender role, consistent with one’s gender identity”—that is medically necessary treatment for

gender dysphoria. Ettner Decl. ¶¶ 25, 60–67. Among other things, IDOC (i) mechanically places

transgender women in facilities for male prisoners, without considering whether a female facility

would be safer and more consistent with the prisoner’s medical needs; (ii) routinely subjects

transgender women to strip searches performed by male staff; (iii) misgenders prisoners with

gender dysphoria (even in patient records), failing to recognize and respect their gender identity;

and (iv) denies transgender women access to gender affirming clothing and grooming items. IDOC

similarly treats transgender men as women, denying them social transition. These failures prevent,

or seriously limit, gender dysphoric prisoners’ ability to live consistent with their gender identity,

which in turn worsens their gender dysphoria.

                   1.      No Individualized Placement Determinations

          IDOC fundamentally fails to accommodate social transition necessary to treat gender

dysphoria by treating transgender women not as women but as men, and transgender men not as

men but as women. This misgendering begins immediately upon arrival, when transgender

prisoners are assigned to facilities based on genitalia. See Hampton v. Baldwin, No. 3:18-CV-550-

NJR-RJD, 2018 WL 5830730, at *4 (S.D. Ill. Nov. 7, 2018) (noting that, as of that date, “currently

all prisoners in the IDOC are housed based on their genitalia”).4


4
    This IDOC policy disregards the National Standards to Prevent, Detect, and Respond to Prison Rape Under the
    Prison Rape Elimination Act (PREA), which state that “[i]n deciding whether to assign a transgender or intersex
    inmate to a facility for male or female inmates, and in making other housing and programming assignments, the


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          Plaintiffs’ repeated requests to be considered for placement in a female facility never have

been taken seriously by IDOC, absent litigation or a court order.5 Ms. Kuykendall has repeatedly

complained about being housed with male prisoners and expressed fears for her safety; she eats

alone in her cell to stay safe. Kuykendall Decl. ¶ 12. Ms. Reed likewise feels unsafe in a male

facility and continuously is harassed. Reed Decl. ¶ 13. She wants to live as a woman and without

harassment and threats in female facility. Id. The other named Plaintiffs also wish to be evaluated

to transfer to a female facility. Melendez Decl. ¶ 9; Vision Decl. ¶ 18.

                   2.       Cross-Gender Strip Searches

          Once transgender women mechanically are placed in IDOC facilities for men, they then

are routinely subjected to demeaning and harmful strip-searches by male staff. IDOC’s 30(b)(6)

designee acknowledged its practice that a woman who is transgender in a male facility will be

searched by a male correctional officer, but testified that “is not something that the Transgender

Committee would address.” Ex. 1 at 132:3–133:3. This disregards PREA’s directive that a facility

“shall not conduct cross-gender strip searches or cross-gender visual body cavity searches” except

in exigent circumstances or when performed by medical practitioners.

          Strip searches conducted by male officers in the presence of male prisoners are humiliating

and cause transgender prisoners to feel violated and unsafe. Ettner Decl. ¶ 63. Ms. Kuykendall

has been so humiliated by cross-gender strip searches that she has isolated herself so as to avoid

harassment and these strip searches. Kuykendall Decl. ¶ 10. She raised this issue repeatedly with

IDOC personnel, and even submitted a grievance in March 2017 requesting that if strip searches



    agency shall consider on a case-by-case basis whether a placement would ensure the inmate’s health and safety, and
    whether the placement would present management or security problems.”
5
    Plaintiffs understand that two transgender women—Ms. Hampton and Ms. Monroe—recently have been transferred
    to a female facility after litigation challenging IDOC’s policy.



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are necessary, she be strip-searched by a female officer away from the male prisoners. Id. Her

repeated requests have been denied, and she continues to be subjected to these distressing searches.

Id. Likewise, Ms. Melendez has been physically and verbally assaulted by male officers during

strip searches. Melendez Decl. ¶ 9.

               3.      Misgendering of Prisoners with Gender Dysphoria

       Misgendering is extremely harmful to gender dysphoric persons and their mental health; it

humiliates and degrades them and threatens their identity. Ettner Decl. ¶ 61; Melendez Decl. ¶ 9;

Kuykendall Decl. ¶ 11; Reed Decl. ¶ 13. IDOC understands that misgendering is “psychologically

harmful, stressful, and interferes with treatment.” Ex. 1 at 125:1–8. It understands that gender-

appropriate names and pronouns are important and part of treatment for gender dysphoria. Ex. 2

at 66:15–68:20. Yet Plaintiffs routinely are misgendered by IDOC staff and by other prisoners.

Melendez Decl. ¶ 9; Kuykendall Decl. ¶ 11; Reed Decl. ¶ 13. The use of the wrong pronouns

serves to further exacerbate Plaintiffs’ gender dysphoria, including thoughts of self-harm, anxiety

and depression. Ettner Decl. ¶ 61. Beyond misgendering, IDOC internal emails reflect that prison

staff “find humor in calling coworkers ‘faggots’ in the armory or transgender offenders ‘he/shes’

or ‘shemales.’” Ex. 8, 218620.

       Beyond the institutional staff, IDOC medical and mental health staff and even members of

the Transgender Committee—the very people entrusted with treating gender dysphoria—regularly

misgender Plaintiffs and members of the Plaintiff Class. Ettner Decl. ¶¶ 134–135. An IDOC

Office of Health Services quarterly meeting presentation given by IDOC’s former agency medical

director—i.e., the role with ultimate approval of hormone therapy and surgery—refers to “[g]ender

[d]ysphoria [t]ransgenders” and uses an offensive image of a face that is half male and half female.

Ex. 9, 120739–49 at 120743. This evidences a profound lack of knowledge about gender dysphoria

and basic precepts of interacting with transgender prisoners. Ettner Decl. ¶¶ 134–35.


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               4.      Lack of Access to Gender Affirming Clothing and Grooming Items

       IDOC fails to provide gender affirming clothing and grooming items to prisoners with

gender dysphoria. These items can significantly enhance an individual’s ability to function

healthily in their environment, and are an essential component of gender transition and treatment

for gender dysphoria for many persons with the condition. Ettner Decl. ¶ 60. In addition, many

women in IDOC facilities who are transgender have developed breasts as a result of either past or

current hormone therapy or past surgery. Without a bra, these women suffer pain and discomfort.

To be clear, even without breast tissue development, a bra is an important symbol of femininity.

Id. ¶ 65. Aside from bras, IDOC does not provide feminine clothes or underwear. Ex. 2 at 97:12–

99:8. Like a bra, there is an important treatment component that comes from the affirmation of

one’s identity, but the tighter fitting underwear also prevents dysphoria by holding the genitalia in

place. Ettner Decl. ¶ 65. Similarly, IDOC often denies access to grooming products such as

shaving razors, hair removal products (IDOC never has approved permanent hair removal, Ex. 2

at 121:22–122:7), or lotions to offset the dry skin that can result from taking spironolactone, an

anti-androgen commonly used in feminizing hormone therapy. Tangpricha Decl. ¶ 37.

       Plaintiffs all repeatedly have requested clothing and grooming items available to non-

transgender women. Kuykendall Decl. ¶ 7; Vision Decl. ¶¶ 12, 13, 17, 19; Reed Decl. ¶¶ 5, 6, 13;

Monroe Decl. ¶¶ 8, 9; Melendez Decl. ¶¶ 6, 9. IDOC continues to deny each prisoner’s request.

Monroe Decl. ¶¶ 8, 9; Melendez Decl. ¶¶ 7, 9. Ms. Vision requested gender affirming and

grooming items three years ago, yet has still not been provided with the clothing and grooming

items provided to non-transgender women. Vision Decl. ¶ 17. Similarly, IDOC officials continue

to deny Ms. Reed access to appropriate female clothing or undergarments. Reed Decl. ¶ 13. The

lack of access to these items undermines Plaintiffs’ medical treatment and causes them physical

and mental distress by preventing them from experiencing life as women. Ettner Decl. ¶ 65.


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       E.      IDOC Fails to Provide Access to Clinicians Competent to Treat Gender
               Dysphoria, Resulting in Misdiagnosis and Inappropriate Treatment.

       IDOC’s Transgender Committee members and IDOC medical professionals who treat

prisoners with gender dysphoria do not have any meaningful knowledge of, experience with, or

training regarding the Standards of Care, nor do they have any meaningful training or experience

regarding the proper treatment of gender dysphoria. Ettner Decl. ¶¶ 128, 134, 135. The Standards

of Care specify that, at minimum, all mental health professionals working with gender dysphoric

adults should (i) be knowledgeable about gender nonconforming identities and expressions; (ii) be

knowledgeable about the treatment and assessment of gender dysphoria including the DSM-5

and/or the International Classification of Diseases; and (iii) possess the ability to recognize and

diagnose co-existing mental health concerns and to distinguish these from gender dysphoria.

Ettner Decl. ¶ 29. The Standards of Care also recommend that treating clinicians actively seek

continuing education on the treatment and assessment of gender dysphoria, including through

professional meetings, workshops, and/or seminars. Id. Mental health professionals who are new

to working with individuals with gender dysphoria “should work under the supervision of a mental

health professional with established competence in the assessment and treatment of gender

dysphoria.” Id. ¶30. In an institutional setting, “[i]f the in-house expertise of health professionals

… does not exist to assess and/or treat people with gender dysphoria, it is appropriate to obtain

outside consultation from professionals who are knowledgeable about this specialized area of

health care.” Ex. 6 at 67; Ettner Decl. ¶ 137.

       IDOC’s treatment providers are not knowledgeable or experienced in assessing or treating

gender dysphoria. IDOC’s 30(b)(6) designee was unsure whether IDOC clinicians received

continuing education in assessing and treating gender dysphoria. Ex. 1 at 50:5–51:5. IDOC itself

did not provide training with respect to transgender health until very recently, id. at 137:22–138:1,



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and only after this Court ordered it to do so. IDOC treatment providers display a profound lack of

understanding of the condition by referring to it as “gender dysphoria disorder,” “gender

identification disorder,” “tg disorder,” and “sex dysphoria,” as well as and other incorrect and

inaccurate descriptions. Ettner Decl. ¶ 135. Treatment providers frequently undermine the gender

dysphoria treatment by referring to their own gender dysphoric patients with incorrect names and

pronouns. Id. The abysmal treatment decisions that the Committee and IDOC medical providers

make reflect fundamental misunderstanding and ignorance about gender dysphoria—experts in

gender dysphoria would not make such egregious mistakes. Id. ¶¶ 134–135. IDOC performs no

quality assurance review regarding the treatment of gender dysphoria. Ex. 2 at 122:8–23.

                                      LEGAL STANDARD

       “A plaintiff seeking a preliminary injunction must establish that [s]he is likely to succeed

on the merits, that [s]he is likely to suffer irreparable harm in the absence of preliminary relief,

that the balance of equities tips in h[er] favor, and that an injunction is in the public interest.”

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see also City of Chicago v. Sessions,

888 F.3d 272, 282 (7th Cir. 2018). The Prison Litigation Reform Act provides that a preliminary

injunction must be “narrowly drawn, extend no further than necessary to correct the harm ...,” and

“be the least intrusive means necessary to correct that harm.” 18 U.S.C. § 3626(a)(2). Plaintiffs

here seek both that IDOC cease its policies and practices that deny gender dysphoric prisoners

with competent care, and to provide medically-necessary care. To the extent the injunction

requires an affirmative act by the defendants, the preliminary injunction is mandatory. Graham v.

Med. Mut. of Ohio, 130 F.3d 293, 295 (7th Cir. 1997).




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                                                   ARGUMENT

I.       PLAINTIFFS HAVE A SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE
         MERITS OF THEIR CLAIM

         Plaintiffs6 have a “substantial likelihood” of prevailing on their Eighth Amendment claim

against Defendants.         To show a “substantial likelihood of success,” “[a] party moving for

preliminary injunctive relief need not demonstrate that she has a likelihood of absolute success on

the merits, but rather that her chances are ‘better than negligible,’ which is a ‘low threshold.’”

Hampton, 2018 WL 5830730, at *10 (quoting Whitaker ex rel. Whitaker v. Kenosha Unified Sch.

Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1046 (7th Cir. 2017)). A plaintiff need “only to present

a claim plausible enough that (if the other preliminary injunction factors cut in their favor) the

entry of a preliminary injunction would be an appropriate step.” See S./Sw. Ass’n of Realtors, Inc.

v. Vill. of Evergreen Park, 109 F. Supp. 2d 926, 927 (N.D. Ill. 2000).

         “[D]eliberate indifference to serious medical needs of prisoners violates the [Eighth]

Amendment because it constitutes the unnecessary and wanton infliction of pain contrary to

contemporary standards of decency.” Helling v. McKinney, 509 U.S. 25, 32 (1993) (internal

quotation marks omitted) (citing Estelle v. Gamble, 429 U.S. 97, 104 (1976)). To demonstrate

deliberate indifference, Plaintiffs must show that: (1) they suffer from a serious medical need

which presents an objectively substantial risk of harm, Greeno v. Daley, 414 F.3d 645, 652 (7th

Cir. 2005), and (2) Defendants knew that the risk existed and that Defendants either intentionally

or recklessly ignored it and will continue to do so in the future. Farmer v. Brennan, 511 U.S. 825,

842 (1994).




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     Plaintiffs’ Complaint was filed by six named plaintiffs on behalf of the putative class. One named plaintiff, Ebony
     Stamps, subsequently has been released from IDOC custody. As a result, plaintiffs now are represented by the
     remaining five putative class representatives.



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       Courts consistently have held that the failure of prison officials to provide adequate

treatment for gender dysphoria constitutes deliberate indifference and warrants preliminary

injunctive relief. See Edmo v. Idaho Dep’t of Corr., 358 F. Supp. 3d 1103, 1129 (D. Idaho 2018)

(granting preliminary injunction ordering Idaho’s Department of Corrections to provide

transgender prisoner with “adequate medical care, including gender confirmation surgery”);

Hicklin v. Precynthe, No. 4:16-cv-01357-NCC, 2018 WL 806764, at *15 (E.D. Mo. Feb. 9, 2018)

(granting preliminary injunction and ordering defendant “to provide [plaintiff prisoner] with care

that her doctors deem to be medically necessary treatment for her gender dysphoria, including

hormone therapy, access to permanent body hair removal, and access to ‘gender-affirming’

canteen items”); Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1195 (N.D. Cal. 2015) (granting

preliminary injunction ordering the California Department of Corrections and Rehabilitation to

provide transgender prisoner “adequate medical care, including sex reassignment surgery…as

promptly as possible”); cf. Hampton, 2018 WL 5830730, at *16–17 (granting preliminary

injunction to prisoner with gender dysphoria who had faced assault, harassment, and misgendering

by prison staff ordering training of prison staff, participation in trans support group while in

segregation, and evaluation by Transgender Committee of potential transfer).

       A.      Gender Dysphoria is an Objectively Serious Medical Need.

       To meet the objective requirement of the deliberate indifference standard, an incarcerated

individual must demonstrate the existence of a serious medical need. Estelle, 429 U.S. at 104.

The Seventh Circuit first established that gender dysphoria constitutes a “serious medical need”

over thirty years ago, Meriwether v. Faulkner, 821 F.2d 408 (7th Cir. 1987), and has reaffirmed

this holding in numerous subsequent cases, e.g., Fields v. Smith, 653 F.3d 550, 555 (7th Cir. 2011)

(gender identity disorder is a serious medical need for purposes of the Eighth Amendment);

Mitchell v. Kallas, 895 F.3d 492, 498 (7th Cir. 2018) (same).


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          B.       Defendants Have Acted with Deliberate Indifference to Plaintiffs’ Serious
                   Medical Needs.

          The subjective component of the analysis requires a plaintiff to show that Defendants

“actually knew of and disregarded a substantial risk of harm.” Petties v. Carter, 836 F.3d 722,

728 (7th Cir. 2016) (emphasis removed), as amended (Aug. 25, 2016), cert denied, 137 S. Ct. 1578

(2017).        The subjective deliberate indifference prong “entails something more than mere

negligence . . . [but] is satisfied by something less than acts or omissions for the very purpose of

causing harm or with knowledge that harm will result.” Farmer, 511 U.S. at 835. If Defendants

knew that the risk existed and either intentionally or recklessly ignored it, and will continue to do

so in the future, then the subjective test has been met. Id. at 837–47.

          Where Plaintiffs complain that defendants systematically fail to provide adequate health

care, “a prison official’s failure to remedy systemic deficiencies in medical services …

constitute[s] deliberate indifference to an inmate’s medical needs.” Rasho v. Walker, No. 07-1298,

2018 WL 2392847, at *18 (C.D. Ill. May 25, 2018) (citing Cleveland-Perdue v. Brutsche, 881

F.2d 427, 430–31 (7th Cir. 1989)); see also Coleman v. Wilson, 912 F. Supp. 1282, 1304 (E.D.

Cal. 1995) (finding deliberate indifference where “defendants have known for years of the gross

deficiencies in the provision of mental health care to inmates …, and that they have failed to take

reasonable steps to avert the obvious risk of harm to mentally ill inmates that flows from the failure

to remedy those deficiencies”).

          Courts also have routinely found deliberate indifference where, like here, prison officials:

(1) deny access to care that medical professionals deem medically necessary, e.g. Fields, 653

F.3d at 557 (“[T]here was no evidence of uncertainty about the efficacy of hormone therapy as a

treatment. Just as the legislature cannot outlaw all effective cancer treatments for prison inmates,

it cannot outlaw the only effective treatment for a serious condition like GID.”); (2) inexplicably



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delay medically-necessary treatment for no penological purpose, e.g., Petties, 836 F.3d at 822;

Perez v. Fenoglio, 792 F.3d 768, 777–78 (7th Cir. 2015) (“A delay in treatment may show

deliberate indifference if it exacerbated the inmate’s injury or unnecessarily prolonged his pain,”

and “even brief, unexplained delays in treatment may constitute deliberate indifference.”); (3)

continue in a harmful course of conduct, Petties, 836 F.3d at 728, or persist in a course of

treatment known to be ineffective, e.g., Foster v. Ghosh, 4 F. Supp. 3d 974, 981 (N.D. Ill. 2013)

(treating physician “was ‘persisting in a course of treatment          known to be ineffective,’

demonstrating deliberate indifference to Foster’s serious medical need.”) (citation omitted); or (4)

make a treatment decision that constitutes a “substantial departure from accepted judgment,

practice, or standard,” e.g., Petties, 836 F.3d at 729; Edmo, 358 F. Supp. 3d at 1126 (finding

deliberate indifference where “Defendants misapplied the recognized standards of care for treating

[plaintiff inmate’s] gender dysphoria”); Norsworthy, 87 F. Supp. 3d at 1189 (finding deliberate

indifference where prison officials had access to the Standards of Care yet failed to provide a

transgender prisoner with the appropriate treatment).

       Here, IDOC’s deliberate indifference is apparent. IDOC understands that severe symptoms

of gender dysphoria are triggered when hormone therapy and surgery are not available, Ex. 1 at

127:1–12, and it understands that the inability to have medical interventions and social transition

is harmful to psychological well-being, id. at 128:1–21. Yet IDOC and each of the named

Defendants has allowed systemic failures in evaluating and providing treatment to prisoners with

gender dysphoria to persist.     IDOC perpetuates and tolerates myriad systemic deficiencies

described above. Courts have found that tolerating these deficiencies amounts to deliberate

indifference. See Hicklin, 2018 WL 806764, at *15 (granting preliminary injunction and ordering

defendant “to provide Ms. Hicklin with care that her doctors deem to be medically necessary




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treatment for her gender dysphoria, including hormone therapy, access to permanent body hair

removal, and access to ‘gender-affirming’ canteen items”); Edmo, 358 F. Supp. 3d at 1126

(granting preliminary injunction and finding deliberate indifference where Defendants

“insufficiently trained their staff with materials that discourage referrals for surgery and represent

the opinions of a single person who rejects the WPATH Standards of Care”).

        Refusal to consider or provide gender affirming surgery that is known to be medically

necessary also amounts to deliberate indifference. See Norsworthy, 87 F. Supp. 3d at 1189

(defendants acted with deliberate indifference by failing to provide plaintiff (or any transgender

prisoners) with sex reassignment surgery when they had “access to the relevant Standards of Care

and evidence that [sex reassignment surgery] was medically necessary for [plaintiff]”); see also

Soneeya v. Spencer, 851 F. Supp. 2d 228, 252 (D. Mass. 2012) (granting permanent injunction

requiring defendant to conduct “an individualized evaluation of Plaintiff’s medical needs, and

prepare and implement a treatment plan that adequately treats Plaintiff’s gender identity disorder.

This treatment plan must be based on an individualized consideration of Plaintiff’s medical needs,

and must consider whether sex reassignment surgery or other treatments are medically indicated

at this time.”).

        Defendants long have known about these deficiencies and have failed to act. IDOC’s

30(b)(6) designee testified that the Committee is—and long has been—aware of the heightened

risk of suicidality among transgender individuals; aware of the heightened risk among people with

gender dysphoria; and aware that suicidality can be a symptom of untreated or poorly treated

gender dysphoria. Ex. 1 at 96:17–97:20. IDOC’s Chief of Psychiatry circulated an article to the

Transgender Committee entitled “Suicide Risk in Transgender Inmates,” which explains that

“[t]here have been several … cases of transgender inmates attempting suicide and self-castration




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while incarcerated. Most of these self-harming behaviors seem to originate in the context of being

denied medical treatment for their gender dysphoria.” See Ex. 10, 146747–48.

       IDOC’s Transgender Committee meeting minutes reflect knowledge that Plaintiffs sought

treatment, and that some had attempted self-harm or suicide, yet IDOC failed to respond to the

known risk. See, e.g., Ex. 1 at at 109:24–110:13; Ex. 11, 004991 (noting plaintiff’s “indicat[ion]

that he would commit additional self-mutilations if he had the opportunity”) (emphasis added to

highlight misgendering); Ex. 12, 004990 (noting “history of episodic self-mutilation and at least

one suicide attempt (by hanging),” as well as “one [instance of self-mutilation] involving expulsion

of a testicle”); Ex. 13, 001303 (noting “a report that the offender had engaged in trying to tie off

his genitals with a string around the base of his testicular sac,” and that “[t]he reason for doing this

was to try to stop testosterone from getting into the bloodstream”) (emphasis added to highlight

misgendering); Ex. 14, 001338–39 (noting that “[s]ince entering IDOC on 7/12/13, I/M has been

placed on 3 crisis watches,” and that “I/M was found with a sheet around his neck on 7/16/13 and

attempted to cut his wrists on 7/31/13”) (emphasis added to highlight misgendering). This

demonstrates deliberate indifference. See, e.g., Konitzer v. Frank, 711 F. Supp. 2d 874, 884 (E.D.

Wis. 2010) (finding deliberate indifference where “a psychiatrist and Medical Director of the

[prison] knows that attempted castration has been an issue for [plaintiff] from time to time, and is

aware that [plaintiff] attempted suicide at the [prison]”).

       Defendants’ knowledge is further reflected in the myriad grievances submitted by Plaintiffs

and Plaintiffs Class members complaining about the deficient care they are receiving. See, e.g.,

Ex. 15, 000213–14 (grievance requesting care for gender dysphoria: “to be honest, without …

[gender dysphoria] medical treatment and medications I would rather be dead so my pain and

heartache would be no more.”); see Gray v. Hardy, 826 F.3d 1000, 1008 (7th Cir. 2016)




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(“[Plaintiff’s] grievance demonstrates the prison and warden’s knowledge of the conditions about

which he is complaining.”).

           Finally, despite Defendants’ awareness that the Standards of Care should govern treatment

for gender dysphoria, Ex. 1 at 36:16–22, 51:6–23, 80:9–81:4, they in fact violate the Standards of

Care at every turn.7 See Edmo, 358 F. Supp. 3d at 1126 (finding deliberate indifference where

“Defendants misapplied the recognized standards of care for treating [plaintiff inmate’s] gender

dysphoria”); Norsworthy, 87 F. Supp. 3d at 1189 (finding deliberate indifference where prison

officials had access to the relevant Standards of Care yet failed to provide a transgender prisoner

with the appropriate treatment outlined in the Standards of Care).

II.        PLAINTIFFS WILL BE IRREPARABLY HARMED ABSENT PRELIMINARY
           RELIEF

           A preliminary injunction is necessary to prevent the irreparable harm to Plaintiffs and

Plaintiff Class members. Whitaker ex rel. Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of

Educ., 858 F.3d 1034, 1044–46 (7th Cir. 2017). Absent a preliminary injunction, they will

continue to suffer unnecessarily and will be at severe risk of worsening mental health, self-harm,

physical pain, social isolation, and fears for their safety—none of which has an adequate remedy

at law.8


7
      When asked if “there are any ways in which [IDOC is] failing to live up to the standards,” IDOC’s 30(b)(6)
      designee testified—after IDOC counsel ensured that the question was “as the department’s representative” and
      “[n]ot his personal opinion” —that “[f]rom the department’s perspective, it is consistent with the standards.” Ex.
      1 at 87:11–22. When then asked about the designee’s personal perspective, and whether his personal opinion
      differed from the institutional opinion, IDOC counsel instructed the designee not to answer the question. Id.
      87:23–89:11.
8
      Plaintiffs are not seeking money damages in this case, and money damages cannot protect Plaintiffs and Plaintiff
      class members from the ongoing mental and physical anguish they are suffering due to IDOC’s failure to treat
      their gender dysphoria. See, e.g., Flower Cab Co. v. Petitte, 685 F.2d 192, 195 (7th Cir. 1982) (stating that in
      prison conditions cases, “the quantification of injury is difficult and damages are therefore not an adequate
      remedy”); Foster, 4 F. Supp. 3d at 983 (granting preliminary injunction to prisoner requiring medical attention;
      no adequate remedy at law exists because “the consequence of inaction at this stage would be further deteriorated
      vision in both eyes”).



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        IDOC’s refusal to provide Plaintiffs and Plaintiff Class members’ with medically-

necessary treatment for their gender dysphoria has caused them, and will continue to cause them,

to suffer from severe clinical emotional and physical distress. See e.g., Ettner Decl. ¶ 71, 73.

Absent an injunction, IDOC’s actions in withholding medically necessary will cause harm to

Plaintiffs and Plaintiff Class Members, including the possibility of permanent injury or death.

Ettner Decl. ¶¶ 68–71. Several Plaintiffs already have resorted to self-harm due to IDOC’s failure

to provide treatment for their gender dysphoria. For example, Ms. Kuykendall and Ms. Monroe

have made attempts at self-castration. Monroe Decl. ¶ 4; Kuykendall Decl. ¶ 4. Ms. Monroe and

Ms. Reed have attempted to kill themselves because they have not received appropriate treatment

for their gender dysphoria while in the custody of IDOC. Monroe Decl. ¶ 5; Reed Decl. ¶ 2. Other

transgender prisoners live with the constant despair of being unable to experience life as women.

E.g., Monroe Decl. ¶ 12; Kuykendall Decl. ¶ 13; Vision Decl. ¶¶ 18–19; Reed Decl. ¶ 13; Melendez

Decl. ¶¶ 8–9. Dr. Randi Ettner,9 a licensed clinical and forensic psychologist with a specialization

in the diagnosis and treatment of gender dysphoria, has determined from a review of medical

records and in-person meetings with several Plaintiffs that many are in danger of near-term self-

harm or death due to their untreated gender dysphoria. Ettner Decl. ¶¶ 81, 91, 100, 110.

        Courts repeatedly have held that emotional distress, anxiety, depression and physical pain

resulting from inadequate medical treatment for gender dysphoria amount to irreparable harm. See

Hicklin, 2018 WL806764, at *10, *14 (enjoining prison system’s denial of medically necessary

transition-related treatments to transgender plaintiff in Eighth Amendment case, finding plaintiff

showed irreparable harm based on evidence of worsening emotional distress and a substantial risk



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    IDOC’s 30(b)(6) designee recognizes Dr. Ettner as a “top person” providing care in the specialized area of gender
    dysphoria, has seen her speak, and uses information from her resources in his role. Ex. 1 at 157:14–158:7.



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of self-harm, including “intrusive thoughts of self-castration” and suicidal ideation); Edmo, 358 F.

Supp. 3d at 1128 (finding transgender prisoner plaintiff satisfied the irreparable harm prong “by

showing that she will suffer serious psychological harm and will be at high risk of self-castration

and suicide in the absence of gender confirmation surgery”); cf. Whitaker, 858 F.3d at 1045–46

(affirming preliminary injunction enjoining school from enforcing policy barring transgender boy

from using boys’ restrooms, concluding that evidence that the policy caused plaintiff “significant

psychological distress” constituted irreparable harm).

       In addition, Defendants’ continual deprivation of Plaintiffs’ and Plaintiff Class members’

Eighth Amendment rights, as previously described, is an irreparable harm sufficient to warrant a

preliminary injunction. See Preston v. Thompson, 589 F.2d 300, 303 n.3 (7th Cir. 1978) (“The

existence of a continuing constitutional violation constitutes proof of an irreparable harm, and its

remedy certainly would serve the public interest.”); Vaquería Tres Monjitas, Inc. v. Irizarry, 587

F.3d 464, 484 (1st Cir. 2009) (finding irreparable harm for “long-standing violations of

constitutional rights for extensive protracted periods of time”); Gordon v. Holder, 721 F.3d 638,

653 (D.C. Cir. 2013) (“[A] prospective violation of a constitutional right constitutes irreparable

injury.”) (citation omitted); Mills v. D.C., 571 F.3d 1304, 1312 (D.C. Cir. 2009) (“It has long been

established that the loss of constitutional freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”) (internal quotations and citation omitted);

Monterey Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997) (noting that “it is not apparent”

how monetary damages would remedy the harm from “unconstitutional discrimination”).

III.   THE EQUITIES AND PUBLIC INTEREST FAVOR PRELIMINARY RELIEF

       The balance of harms substantially weighs in favor of granting injunctive relief.

Defendants’ refusal to provide Plaintiffs and Plaintiff Class members with medically necessary

care has caused them mental and physical anguish that they continue to suffer on a daily basis. In


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contrast, Defendants will not suffer any harm—much less irreparable harm—from providing

medically necessary care consistent with their constitutional obligations. See, e.g., Gammett v.

Idaho State Bd. of Corr., No. CV05-257-S-MHW, 2007 WL 2186896, at *15–16 (D. Idaho July

27, 2007) (finding balance of harms “sharply” favored plaintiff, who would experience suicidality

and mental harm without gender dysphoria treatment); Farnam v. Walker, 593 F. Supp. 2d 1000

(C.D. Ill. 2009) (granting preliminary injunction after finding that the burden on the prison of

administrating medical treatment as greatly outweighed by plaintiff’s prolonged pain, suffering,

and decreased quality of life); Edmo, 358 F. Supp. 3d at 1128 (holding balance of equities and

public interest favor transgender plaintiff prisoner where she has established “irreparable harm in

the form of unnecessary physical and emotional suffering and denial of her constitutional rights”).

       In addition, the public interest also favors injunctive relief because Plaintiffs seek to

vindicate their right to medically adequate treatment under the Eighth Amendment. See Farnam,

593 F. Supp. 2d at 1017 (“[T]he public has an interest in ensuring that the plaintiff’s health is

maintained during the pendency of the case, given that the plaintiff has shown a fair likelihood of

success.”); accord Phillips v. Mich. Dep’t of Corr., 731 F. Supp. 792, 801 (W.D. Mich. 1990)

(finding “the public interest will be served by safeguarding Eighth Amendment rights” of prisoners

with gender dysphoria), aff’d, 932 F.2d 969 (6th Cir. 1991); Hobby Lobby Stores, Inc. v. Sebelius,

723 F.3d 1114, 1145 (10th Cir. 2013) (en banc) (“[I]t is always in the public interest to prevent the

violation of a party’s constitutional rights.”) (citation omitted), aff’d sub nom. Burwell v. Hobby

Lobby Stores, Inc., 134 S. Ct. 2751 (2014).

IV.    THIS COURT SHOULD EXTEND INJUNCTIVE RELIEF TO PLAINTIFF CLASS
       MEMBERS

       As further described in Plaintiffs’ Motion for Class Certification and in the declarations of

Dr. Ettner and Dr. Tangpricha, the IDOC policies and practices that have led to Plaintiffs receiving



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delayed and inadequate care for gender dysphoria similarly affect the putative class, and

preliminary relief should be extended to the putative class.10 As with the named Plaintiffs, all

medical decisions for Gender Dysphoria are routed through the Transgender Committee. This

represents an unnecessary hurdle that IDOC imposes for no other medical condition. In addition,

the Committee, which lacks expertise in Gender Dysphoria and contains non-medical members, is

profoundly unequipped to render treatment decisions.

         As with the named Plaintiffs, IDOC routinely denies and delays hormone therapy for

reasons that are not accepted contraindications. Ettner Decl. ¶¶ 127, 133. Even once hormone

therapy is prescribed, IDOC then fails to provide hormone therapy at therapeutically effective and

safe levels—most putative class members’ hormone levels have never once demonstrated levels

within the therapeutic range. Tangpricha Decl. ¶ 69. Monitoring is not done with anywhere near

the regularity directed by the Guidelines. Id. ¶ 71. And IDOC continues to prescribe conjugated

estrogen compounds that could not be measured in bloodwork even if monitoring was performed.

Id. ¶ 70.

         IDOC also imposes a policy and practice classwide of not considering surgical treatment

as an option for prisoners with gender dysphoria. Ettner Decl. ¶ 132; Ex. 2 at 55:8–56:15. No

IDOC prisoner has been approved for gender affirming surgery or has even been evaluated to




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     To the extent the Court addresses Plaintiffs’ Motion for Preliminary Injunction prior to their Motion for Class
     Certification, it has the authority to issue class-wide injunctive relief to both the Plaintiffs and Plaintiff class
     members pending class certification. See Ill. League of Advocates for the Developmentally Disabled v. Ill. Dep’t
     of Human Servs., No. 13 C 1300, 2013 U.S. Dist. LEXIS 90977, at *9 (N.D. Ill. June 28, 2013) (“District courts
     have the power to order injunctive relief covering potential class members prior to class certification.”); see also
     Lee v. Orr, No. 13-cv-8719, 2013 WL 6490577, at *2 (N.D. Ill. Dec. 10, 2013) (“The court may conditionally
     certify the class or otherwise order a broad preliminary injunction, without a formal class ruling, under its general
     equity powers ….”). Courts, including within the Seventh Circuit, grant preliminary injunctions that extend relief
     beyond the named parties where, like here, such an injunction serves the public interest in efficiency and is
     necessary to ensure the application of the law to and to protect constitutional or civil rights. See Campbell v.
     Miller, 373 F.3d 834, 840 (7th Cir. 2004) (collecting cases).



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determine whether they need gender affirming surgery to treat their gender dysphoria. Defs.’

Answer ¶ 100; Ex. 2 at 99:9–14. IDOC has never brought in a specialist to evaluate any gender

dysphoric prisoners for surgical care. Ex. 2 at 101:20–102:3.

       IDOC has a policy and practice of denying prisoners the ability to live consistently with

their gender identity—treating gender dysphoric women as men for purposes of housing

assignments, clothing and undergarments, and grooming products. Ettner Decl. ¶ 131. IDOC

routinely misgenders Plaintiffs and members of the Plaintiff Class alike. Ettner Decl. ¶¶ 134–135.

And IDOC systemically refuses to provide training or to engage specialists to remedy its

correctional and medical staff’s shocking lack of knowledge about gender dysphoria. Id. ¶137;

Ex. 2 at 101:20–22; Ex. 1 at 156:20–157:11.

       Because of the system-wide nature of harm inflicted by IDOC’s policies and practices,

relief to the putative class as well as the named Plaintiffs is necessary to fully address that harm.

V.     REQUESTED RELIEF

       For the foregoing reasons, Plaintiffs seek a preliminary injunction halting IDOC’s policies

and practices that deny and delay competent treatment to prisoners with gender dysphoria, and

instructing IDOC to provide medically-necessary treatment.            Plaintiffs seek a preliminary

injunction that directs Defendants to, among other things: (i) cease the policy and practice of

allowing the Transgender Committee, a committee of non-experts and laypeople, to make the

medical decisions regarding gender dysphoria resulting in denials and delays of treatment; (ii)

cease the policy and practice of denying and delaying hormone therapy for reasons that are not

recognized as contraindications to treatment; (iii) cease IDOC’s policy and practice of refusing to

evaluate and provide surgery to treat gender dysphoria; (iv) cease the policy and practice of

depriving gender dysphoric prisoners of medically-necessary social transition, including by

mechanically assigning housing based on genitalia. Plaintiffs further seek medically-necessary


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medical treatment for Plaintiffs and Plaintiff Class members, including: (i) access to clinicians

who meet the competency requirements stated in the Standards of Care to treat gender dysphoria;

(ii) evaluation for gender dysphoria upon request or clinical indications of the condition;

(iii) timely medically-prescribed treatment for gender dysphoria, including, but not limited to,

hormone therapy and monitoring, and gender affirming surgery; (iv) medically necessary social

transition, including individualized placement determinations, avoidance of cross-gender strip

searches, and access to gender affirming clothing and grooming items; and (v) training for IDOC

staff on the importance of social transition, including using proper names and pronouns for

transgender prisoners.

       Because IDOC medical professionals and the Transgender Committee have demonstrated

a profound inability to provide the medically-necessary treatment for Plaintiffs’ and Plaintiff Class

members’ gender dysphoria, Plaintiffs further request that this Court appoint a medical expert in

gender dysphoria to oversee IDOC’s implementation of the above-referenced relief. This expert

shall work with Plaintiffs and IDOC to develop a plan to eliminate the substantial risks of serious

harm that Plaintiffs and Plaintiff Class members suffer due to Defendants’ woefully deficient

evaluation and treatment of gender dysphoria.




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 Dated: May 2, 2019                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on May 2, 2019, I electronically filed the foregoing document and any

attachments with the Clerk of this Court by using the CM/ECF system, which will accomplish

service through the Notice of Electronic Filing for parties and attorneys who are Filing Users.



                                             /s/ Jordan M. Heinz
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